             Exhibit 2




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                   Liquidation Analysis: What Creditors Would Receive
                        if the Case Were Converted to a Chapter 7


  Real Property #1: 3650 W. Camino Christy, Tucson, AZ 85742

    Fair Market    Lien Amount    Cost of Sale      Resulting    Amount of     Net Proceeds
       Value                                          Tax        Exemption

    $525,000.00    1st:            $35,000.00           $       $150,000.00    $198,632.83
                   $141,367.17
                   2nd:
                   forgiven


  Personal Property:
   Description                   Liquidation         Lien       Amount of     Net Proceeds
                                   Value            Amount      Exemption
   Cash                          $145,500.00                     $300.00      $145,200.00
   Automobile #1                  $3,205.00           $0        $6,000.00        $0.00
   2012 Lincoln
   Automobile #2                  $4,000.00           $0        $6,000.00        $0.00
   2008 Toyota Tacoma
   Automobile #3                 $12,469.00        $22,945.95     $0.00          $0.00
   2016 Toyota Tacoma
   Hyster Lift Truck              $7,200.00        $1,575.00      $0.00        $5625.00
   Household Furnishings          $3,000.00          $0.00      $12,000.00       $0.00
   Jewelry                        $400.00            $0.00      $4,000.00        $0.00
   Equipment                     $20,000.00        $20,000.00   $12,000.00       $0.00
   Vida Gasline                  $29,500.00          $0.00        $0.00        $29,500.00
                                                                              (after deduct
                                                                              cost of sale)




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   CE Systems                     $51,843.87        0.00       0.00       $33,660.00
                                                                           (est. after
                                                                          payment of
                                                                             taxes)
   AZ Turbine Technology              0.00          0.00       0.00           0.00
   Stocks / Investments           $559,894.69       $0.00   $510,386.56    $39,606.50
                                                                          (after capital
                                                                           gain taxes)
   Other Personal Property         $1,000.00        $0.00      $0.00       $1,000.00
   TOTAL                                                                  $254,591.15


  Summary if Conversion to Chapter 7:


   Net Proceeds of Real Property and Personal Property                    $453,224.33
   Recovery from Preferences / Fraudulent Conveyances             [ADD]       $0.00
   Chapter 7 Trustee Fees                                   [SUBTRACT]     $25,911.22
   Chapter 7 Trustee’s Professionals’ Fees (To litigate     [SUBTRACT]     $80,000.00
   disputed Turbine Powered Technology and Tucson
   Embedded Systems Claims)
   Other Chapter 7 Liabilities                              [SUBTRACT]        $0.00
   Unpaid Chapter 11 Administrative Priority Liabilities    [SUBTRACT]    $350,000.00
   (Estimated Debtor Counsel, UST Fees, and Committee
   Fees)
   Priority Claims                                          [SUBTRACT]        $0.00
   NET FUNDS AVAILABLE FOR DISTRIBUTION TO GENERAL                            $0.00
   UNSECURED CREDITORS
   ESTIMATED FUNDS DISTRIBUTED TO GENERAL UNSECURED                           $0.00
   CREDITORS UNDER PLAN




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  Projected Plan Distribution Totals by Class Over Plan Term

   Class 1 - Administrative Claims                                            $350,000.00
   Class 2 - Quicken Loans                                                    $87,753.60
   Class 3 - USAA HELOC                                                          $0.00
   Class 4 - USAA Toyota Tacoma Secured Claim                                 $14,118.60
   Class 5 - Secured Claim of Jeremy Nicolaides                                $4,146.00
   Class 6 - Secured Claim of Kenneth Braccio and Michael Sherwood            $22,645.20
   Class 7 - Unsecured Priority Tax Claims                                       $0.00
   Class 8- General Unsecured Creditors                                       $222,392.00

     Total:                                                                   $701,055.40


   Estimated Amount of Unsecured Claims if Turbine Powered Technology        $200,000.00
   and Tucson Embedded Systems Claims Litigated
   Percent Distribution to General Unsecured Creditors Under Proposed           100%
   Amended Plan
   Percent Distribution to Unsecured Creditors Under Liquidation Analysis        0.0%




   Estimated Amount of Unsecured Claims if Turbine Powered                  $30,573,198.66
   Technology and Tucson Embedded Systems Claims are NOT Litigated
   Resulting Percent Distribution to General Unsecured Creditors Under          0.7%
   Proposed Amended Plan
   Resulting Percent Distribution to Unsecured Creditors Under                  0.00%
   Liquidation Analysis




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           Projected Average Post-Confirmation Monthly Income and Expenses
                                  (Disposable Income)

    MONTHLY CASH INFLOWS

    Salary David Crowe                                                   $16,666.67

    Payroll Deductions                                                  ($4,987.75)

    Total Individual Income                                              $11,678.92

    MONTHLY CASH OUTFLOWS

    1st Mortgage Quicken Loans                                            $1,462.56

    2nd Mortgage USAA                                                            $0.00

    Secured Business Expenses                                              $446.52

    Vehicle Ownership Expense (USAA)                                       $235.31

    Vehicle Ownership Expense (2nd Car)                                    $521.00

    US Trustee Fees                                                          $83.34

    Actual Dependent Expenses                                                    $0.00

    Food and Personal Care                                                 $779.00

    Housekeeping Supplies                                                    $73.00

    Apparel & Services                                                     $192.00

    Personal Care Products and Services                                      $74.00

    Miscellaneous                                                          $315.00

    Healthcare                                                             $168.00

    Life and Disability Insurance                                          $580.53

    Utilities                                                             $1032.02

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    Home Repairs                                                          $200.00

    Vehicle Operating Costs                                               $450.00

    Charitable Contributions                                              $466.00

    Work Travel Expense, Cell Phone, Data                                $1,413.61

    TOTAL HOUSEHOLD EXPENSE                                              $8,491.89



    DEBTORS’ AVERAGE DISPOSABLE                                          $3,187.03

    Beginning January 2022                                               $3,787.03

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